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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION



PLANNED PARENTHOOD SOUTHWEST OHIO
REGION, et al.,



                              Plaintiffs,                     Case No. 1:19-cv-00118

        v.                                                    JUDGE MICHAEL R. BARRETT



DAVID YOST, in his official capacity as Attorney
General of the State of Ohio, et al.,



                              Defendants.



                        CONSENT MOTION TO MODIFY
                 TEMPORARY RESTRAINING ORDER NUNC PRO TUNC

        Plaintiffs Planned Parenthood Southwest Ohio Region, Planned Parenthood of Greater

Ohio, Women’s Med Center, and Dr. Sharon Liner, with the State Defendants, (together,

Parties), hereby respectfully move the Court to modify the definition of “LMP” in its Temporary

Restraining Order (ECF No. 30 (Order) at 4 n.1 (defining “LMP” as “last missed period”)). The

Parties agree that the definition of “LMP” should be the first day of the woman’s last menstrual

period, and not the last missed period, and respectfully request that the Court modify its Order to

reflect this corrected definition, to avoid unintended ambiguity over the scope of the

circumstances covered by the TRO. The parties further request that this modification be

effective nunc pro tunc to March 21, 2019, the date the TRO issued.




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        The Parties agree that the submission of this Motion shall not be taken as a waiver of

their rights to challenge the merits of the Court’s Order.



March 26, 2019                                        Respectfully submitted,

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